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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



    ___________________________________
                                                               )
                                                               )
         Rodney Lail, et al.,                                  )
                                                               )
                  Plaintiffs,                                  )
                                                               )     C.A. No. 10-CV-210-PLF
                           v.                                  )
                                                               )
         United States Government, et al.,                     )
                                                               )
                                                               )
                  Defendants.                                  )
                                                               )
                                                               )
                                                               )


        PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
    DEFENDANT ANDREW LINDEMANN’S MOTION TO DISMISS
                     (DOCUMENT No. 37) 1


        Pro Se plaintiffs in the above captioned civil action hereby file their

brief in Opposition to defendant Andrew Lindemann’s Motion to Dismiss.

The motion must be denied as (1) venue is proper in this Court, (2)

1
  The pro se plaintiffs are composed of disabled individuals without financial resources who have requested
of the Court appointment of pro bono counsel to offset the extreme advantage in both resources and
capability the governmental and professional defendants have in this complex litigation. Defendants thus
far have succeeded in prolonging not only plaintiffs’ relief, but plaintiffs’ access to a fair hearing;
appointment of qualified and motivated pro bono counsel would serve several purposes ranging from
putting plaintiffs’ access to the judiciary on equal footing with the defendants’; improving the form and
content of plaintiffs’ filings, reducing the burden on the Court; and curtailing the egregious ongoing civil
rights abuses, like the state-sponsored disappearance of 93-year-old Doris Holt.

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Lindemann is subject to the personal jurisdiction of this Court, and (3)

service of Lindemann was sufficient, as set forth below in detail:

                    I. Service of Lindemann was Sufficient

      The pro se plaintiffs believe the best way to address Lindemann’s

Motion to Dismiss (Doc No. 37) in its entirety before this Court is to first

show the inability Lindeman has to truthfully present the facts in his motions

or discourse throughout litigation.

      As example in point, in Lindemann’s rendition of his allegedly

insufficient service in Doc. No, 37, he states on page 7, starting on line 11,

“The employee Lavinia Roche does not even work directly for the defendant

[Lindeman] nor was she made aware that the envelope contained process to

be served on the defendant.” (Please note Exhibit “A” to process server’s

affidavit attached hereto.) This picture was taken as the service of the

summons and complaint in question being perfected and clearly shows the

summons and complaint was not in an envelope and that Ms. Roche could

clearly see the title summons and complaint with the name Andrew

Lindemann captioned on it. In her affidavit Ms. Roche stated she worked

for the law firm for over three years and, therefore, the average person could

reasonably assume she recognizes a summons and complaint.




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      Additionally, the affidavit of the process server, (See process server’s

affidavit attached hereto), clearly states Ms. Roche did state she worked

for defendant Lindemann and was authorized to receive a summons and

complaint for Lindemann.

      The evidence presented herein clearly documents that Lindemann

received the summons and complaint in a completely different manner than

Lindemann stated to the Court and Lindeman’s rendition as presented in

Doc. 37 was a contrived and untruthful version to mislead this Honorable

Court and was a deliberate attempt by Lindeman to circumvent legal process

he took an oath to uphold. Plaintiffs maintain that the evidence presented

documents that service was in fact sufficient and that Lindeman has

accomplished nothing more than document what this Honorable Court can

expect from defendant Lindeman throughout the proceedings.

                           II.    Statements of Fact

      The plaintiffs have carefully reviewed defendant Lindemann’s

colorful misrepresentations and slanted interpretations in the Statement of

Facts in his Motion to Dismiss (Doc. No. 37).

      Lindemann’s Statement of Facts is nothing but an attempt to confuse

the Court and undermine the factual truth; that Lindemann knowingly

participated in conspiratorial acts. Lindemann’s statement, that causes of


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action in this case have already been litigated, is totally false and Lindeman

knows he cannot present evidence to support such a baseless claim. The

plaintiffs’ causes of action contained in the complaint before this Court are

unique in that they have never been litigated in any other Court.

        The plaintiffs disagree with the tenor and content of Lindemann’s

Statement of Facts. The plaintiffs stand by their second amended complaint

and every point within the second amended complaint.

III.    The Court Must Accept Plaintiffs’ Allegations As True.

        Contrary to defendant Lindemann’s arguments in the motion to

dismiss, the Court must accept as true all the factual allegations in the

Complaint when ruling on a motion to dismiss. In Ashcroft v. Iqbal the

Supreme Court found that “[t]o survive a motion to dismiss, a complaint

must contain sufficient factual matter, accepted as true, to state a claim of

relief that is plausible on its face.” Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949

(U.S. 2009).

        See also, Leatherman v. Tarrant County Narcotics Intelligence and

Coordination Unit, 507 U.S. 163, 113 S.Ct. 1160, 122 L.ED.2d 517 (1993);

United States v. Gaubert, 499 U.S. 315, 327, 111 S.Ct. 1267, 1276, 113

L.Ed.2d 335 (1991).




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IV. This Court Has Personal Jurisdiction Over Defendant
Lindemann

             The Washington, D.C. Circuit Court made the criteria clear to

establish personal jurisdiction in a civil conspiracy in Manook v. Research

Triangle where the court established:

      For conspiracy jurisdiction within the District of Columbia, the
      plaintiff must allege: (1) the existence of a civil conspiracy; (2)
      the defendant’s participation in the conspiracy; and (3) an overt
      act by a coconspirator within the forum, subject to the long-arm
      statute, and in furtherance of the conspiracy. More importantly,
      a plaintiff seeking to meet its burden of demonstrating that a
      court may exercise jurisdiction over foreign defendants under a
      conspiracy theory must present a particularized pleading of the
      conspiracy as well as the overt acts within the forum taken in
      furtherance of the conspiracy.

Estate of Manook v. Research Trinangle Inst. Int’l, 693 F.Supp. 2d 4, 18-19

(D.D.C. 2010).

             The plaintiffs’ complaint before this Court makes clear the

existence of a civil conspiracy and defendant Lindemann’s participation in

said conspiracy. Beginning in ¶ 123 of the Complaint, Lindemann’s known

role in the conspiracy is outlined including, but not limited to, incriminating

documents related to Lindeman and other defendants in this action in a file

which only could indicate plausible motivation for the overt acts involved in

the disappearance of 93 year old plaintiff Doris Holt ¶ 174.



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      The plaintiffs have alleged that defendant Lindemann, as well as other

residents of South Carolina, Virginia, West Virginia, North Carolina and

Washington, DC engaged in a civil conspiracy to deprive plaintiffs of their

property and their constitutional rights. Consequently, as plaintiffs have

alleged the existence of the conspiracy and defendant Lindemann’s

participation in that conspiracy, prongs one and two of the Manook test are

satisfied and the plaintiffs’ established the claims in the complaint are

plausible.

      Furthermore, the Complaint states in detail several of the actions

taken in Washington, D.C., which plaintiffs contend was the hub of the

conspiracy with the FBI at the vortex of hub of the cover-up. These actions

include, but are not limited to, the FBI’s submission of fraudulent NCIC

reports to the Senate Judiciary Committee. (See Complaint ¶ ¶ 117-120.) A

second example of the numerous overt acts conducted within the forum was

the baseless invoking of national security to hide incriminating documents to

subvert the constitutional rights of the plaintiffs. (See Complaint ¶ ¶ 123,

140, and 236.)

      Additionally, all records of the actions taken by the central

perpetrators and the agents’ employees of the FBI are kept in Washington,

DC the hub of the civil conspiracy and records maintained there were


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concealed from plaintiffs by the actions of the FBI in Washington, D.C. As

co-conspirators, defendant Lindemann is held responsible for all of the

actions of the conspiracy. Therefore, the third prong of the Manook test is

satisfied. These allegations are sufficient to confer on this Court personal

jurisdiction over defendant Lindemann in these plausible claims.

      It is premature to have Lindemann dismissed from this lawsuit until

discovery is conducted to determine the extent of his role in this conspiracy.

                 V. Additional Case Law Considerations:

      South Carolina decisions also support the contention that the proper

jurisdiction would be the D.C. District Court. A plaintiff must only make a

prima facie showing that the court has jurisdiction over the defendant for the

civil action to continue, and allegations in the complaint to this effect are

normally sufficient to warrant exercise of jurisdiction. Brown v. Investment

Management and Research, Inc., 475 S.E.2d 754 (1996). The court must

take as true the allegations of the non-moving party and resolve all factual

disputes in the non-movants’ favor. Id. at 756. Whenever a plaintiff alleges a

civil conspiracy perpetrated by both residents of a state and nonresidents,

there is personal jurisdiction over the nonresidents as long as some of the

actions of the conspiracy occurred within the state. Hammond v. Butlert,




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Means, Evans, & Brown, 388 S.E.2d 796, cert. denied, 498 U.S. 952, 111 S.

Ct. 373, 112 L.Ed.2d. 335 (1990).

           VI. This Court Has Supplemental Jurisdiction Over
                      Plaintiffs’ State Law Claims.

      Along with the federal claims for violation of the plaintiffs’ civil

rights, plaintiffs have alleged various state law claims against defendants,

including defendant Lindemann. Federal courts have supplemental

jurisdiction over any state law claims, which form part of the same case or

controversy. 28 U.S.C. § 1367. The central concern in deciding whether to

assert supplemental jurisdiction over state law claims is the burden on the

parties and the judicial system if the state law claims are not retained and the

plaintiffs are forced to file several suits in several jurisdictions. United Mine

Workers of America v. Gibbs, 383 U.S. 715, 86 S. Ct. 1130 (1996).

      In the present case, all of the plaintiffs’ claims alleged in the

Complaint are plausible and related to a conspiracy emanating from the FBI

in Washington, D.C., the hub of the conspiracy and the conspiracy includes

the participation of FBI personnel who report to FBI Headquarters in

Washington D.C., assigned by FBI Headquarters to duty in West Virginia,

Virginia, North Carolina and South Carolina and other individuals and

entities in which the defendants engaged in a pattern of harassment,

extortion, racketeering and oppression, in an attempt to discredit the
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plaintiffs and to a cover-up of crimes related to taking control of their

business and denying plaintiffs’ constitutionally guaranteed rights.

          It would be extremely burdensome and cost prohibitive to break apart

all of the various claims and require the plaintiffs to pursue this litigation

piecemeal in various state courts in West Virginia, Virginia, South Carolina,

North Carolina, Georgia and Washington, D.C. The more judicially efficient

plan for all parties involved is to have all of these claims adjudicated at one

time to reduce the costs and burdens on the parties and to ensure a consistent

result.

          This Court clearly has the discretion to exercise supplemental

jurisdiction over plaintiffs’ state law claims and should do so in this case to

promote judicial economy and efficiency, and to reduce the burden and costs

on all parties.

                                 VII. Conclusion.

          Accordingly, and for the foregoing reasons, plaintiffs respectfully

request that defendant Lindemann‘s motion to dismiss be denied.




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Serving of1:10-cv-00210-PLF
     Case  Defendant Andrew    Lindeman.
                            Document              EXHIBIT
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           1. Note no envelope.
           2. Note Lavinia Roche reading the Summons and
           Complaint as she takes service for Defendant Andrew
           Lindeman.
